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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Dorothy Austin,                            )
                                           )
       Plaintiff,                          )
                                           )
       v.                                  )     No. 10 C 1665
                                           )
GC Services Limited Partnership, a         )     Judge Der-Yeghiayan
Delaware limited partnership,              )
                                           )
       Defendant.                          )

                               STIPULATION OF DISMISSAL

       Plaintiff, Dorothy Austin, having reached a settlement with the Defendant, hereby

stipulates to the dismissal of this action with prejudice, each party to bear their own

attorneys’ fees and costs.

Dated: August 23, 2010

One of Plaintiff's Attorneys

/s/ David J. Philipps_______
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The foregoing stipulation is hereby approved and this action is dismissed with prejudice,
each party to bear their own attorneys’ fees and costs.

Dated: ______________                      ENTERED:


                                           __________________________________
                                           Judge Samuel Der-Yeghiayan,
                                           United States District Court

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                              CERTIFICATE OF SERVICE

         I hereby certify that on August 23, 2010, a copy of the foregoing Stipulation of
Dismissal was filed electronically. Notice of this filing will be sent to the following
parties by operation of the Court’s electronic filing system. Parties may access this
filing through the Court’s system.

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/s/ David J. Philipps__________

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